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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



MEREDITH KAY REINHOLDT,                          Case No.: 0:20-cv-2003

                     Plaintiff,
                                                 COMPLAINT AND
v.                                               DEMAND FOR JURY TRIAL

EXPERIAN INFORMATION
SOLUTIONS, INC.,                                    1. FCRA, 15 U.S.C. § 1681, et seq.

                     Defendant.




        Plaintiff Meredith Kay Reinholdt (“Plaintiff”), through her attorneys, alleges the

following against Defendant Experian Information Solutions, Inc. (“Experian”):

                                      INTRODUCTION

        This is a one-count complaint based on violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681e(b), which requires consumer reporting agencies to assure

maximum possible accuracy of the information that they report.

                                  JURISDICTION AND VENUE

1. The Court has federal question jurisdiction over this claim pursuant to 28 U.S.C. §

     1331; 15 U.S.C. § 1681.




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2. Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial

   part of the events or omissions giving rise to the claim occurred in this district.

3. Experian transacts business in this district. As such, the Court has personal jurisdiction

   over Experian.

                                           PARTIES

1. Plaintiff is a natural person residing in the city of White Bear Lake, Ramsey County,

   Minnesota.

2. Plaintiff is a “consumer” as defined in 15 U.S.C. § 1681a(c).

3. Experian is a “credit reporting agency” (“CRA”) as defined in 15 U.S.C. § 1681a(f).

4. Upon information and belief, Experian is regularly engaged in the business of

   assembling, evaluating, and disbursing information concerning consumers in the form

   of “consumer reports” (as defined in 15 U.S.C. § 1681a(d)) to be furnished to third

   parties.

5. Upon information and belief, Experian disburses consumer reports to third parties under

   contract for monetary compensation.

6. Experian’s principal place of business is located at 475 Anton Boulevard, Costa Mesa,

   California 92626.

7. At all relevant times, Experian acted through duly authorized agents, employees,

   officers, members, directors, heirs, successors, assigns, principals, trustees,

   sureties, subrogees, representatives, and insurers.


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                                FACTUAL ALLEGATIONS

1. In or around April 2018, Plaintiff opened an account with CenturyLink for cable

   television.   The account was subsequently transferred to EOS (“Creditor”) as

   designated account # 777. . . (the “777 Account”).

2. Plaintiff subsequently fell on hard times and had difficulties paying her bills. In

   particular, Plaintiff did not pay an amount owed on the 777 Account.

3. On January 30, 2020, Plaintiff and her husband, James F. Reinholdt, Jr., filed for a

   voluntary bankruptcy under Chapter 7 of Title 11 of the Bankruptcy Code.            The

   bankruptcy petition was filed in the United States Bankruptcy Court for the District of

   Minnesota (St. Paul), case number 20-30257.

4. Plaintiff and her husband were discharged from the Chapter 7 bankruptcy on or about

   April 27, 2020. The discharge included amounts owed on the 777 Account.

5. Following the bankruptcy discharge, Plaintiff was eager to commence working to

   improve her credit and to obtain her “fresh start.” She accordingly applied for a Capital

   One credit card, but was denied.

6. To make sure that the post-bankruptcy discharge reporting on her credit reports were

   accurate, Plaintiff obtained copies from Experian and the other national consumer

   reporting agencies, Equifax Information Services, Inc. (“Equifax”) and TransUnion,

   LLC (“TransUnion”).




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7. Upon review, Plaintiff learned that Experian did not report that the 777 Account had

   been discharged in bankruptcy, despite reporting the bankruptcy filing in the public

   records section and reporting another pre-bankruptcy account as discharged through

   bankruptcy.

8. Plaintiff also learned that Experian was reporting the 777 Account with a “past due”

   balance of $106 in “collection” as of June 2020, despite the account having been

   included in Plaintiff’s bankruptcy and discharged in April 2020.

9. Plaintiff also learned that nonparty CRA TransUnion was accurately reporting that the

   777 Account balance had been discharged in Plaintiff’s bankruptcy and that nonparty

   CRA Equifax was not reporting the account.

10. Upon information and belief, Experian proactively sought out and paid for Plaintiff’s

   public record bankruptcy information in order to post it in her credit report.

11. Upon information and belief, Experian has been conducting such bankruptcy court

   inquiries via third party vendors for many years and searches daily for all U.S. consumer

   bankruptcy filings with the purpose of reporting them on consumers’ credit reports.

12. Experian does not maintain or follow reasonable procedures to ensure that pre-

   bankruptcy debts are definitively reported as either paid or discharged following the

   entry of a Chapter 7 bankruptcy discharge order and do not continue to report as

   derogatory payment history after the bankruptcy was filed.




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13. Experian received notice that accounts such as the 777 Account should report as

   discharged in bankruptcy because Experian was reporting the bankruptcy as filed after

   the account was opened and then discharged.

14. Further, Experian has been sued many times for similar conduct and is aware that, when

   it receives notice of a Chapter 7 bankruptcy discharge, all pre-bankruptcy installment

   loans or revolving accounts are automatically assumed to have been discharged through

   the consumer’s bankruptcy (the “default rule”).

15. Experian also received notice of its inadequate post-bankruptcy reporting procedures

   through the thousands of lawsuits and FTC and Consumer Financial Protection Bureau

   complaints filed against Experian for its inaccurate reporting following a Chapter 7

   bankruptcy discharge.

16. Upon information and belief, Experian had notice of Creditor’s unreliable procedures

   to properly update the reporting of pre-Chapter 7 debt upon discharge of a bankruptcy.

   Experian knew and understood that furnishers do not have a statutory obligation to

   update their past reporting and do not have liability if they do not provide such updates.

17. Experian is reporting that Plaintiff may owe debt that she does not actually owe,

   thereby damaging her credit scores.

18. As a result of Experian’s conduct, Plaintiff has sustained actual damages including, but

   not limited to, embarrassment, anguish, and emotional and mental pain.




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19. Experian’s reporting is particularly aggravating of Plaintiff’s damages because the

   inaccurate reporting damages her credit scores and her credit, which she is attempting

   to rebuild after bankruptcy.

20. The inaccurate reporting by Experian has caused Plaintiff stress and anxiety about her

   credit reputation.

21. Upon information and belief, Plaintiff had an application for credit denied due to the

   publishing of Experian’s inaccurate reporting.



                                           COUNT I

                        Violations of the FCRA, 15 U.S.C. § 1681e(b)

22. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein.

23. The FCRA requires that “[w]henever a consumer reporting agency prepares a

   consumer report it shall follow reasonable procedures to assure maximum possible

   accuracy of the information concerning the individual about whom the report relates.”

   15 U.S.C. § 1681e(b).

24. Experian violated 15 U.S.C. § 1681e(b) by failing to establish and/or follow reasonable

   procedures to assure maximum possible accuracy in the preparation of credit reports

   and credit files that Experian published and maintained concerning Plaintiff.




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25. As a result of the above-described violations of § 1681e(b), Plaintiff has sustained

   damages, including the loss of credit opportunities, emotional distress, humiliation, and

   mental anguish.

26. The § 1681e(b) violations by Experian were willful, rendering Experian liable for

   punitive damages in an amount to be determined pursuant to 15 U.S.C. § 1681n. In the

   alternative, the violations by Experian were negligent, which entitles Plaintiff to

   recovery under 15 U.S.C. § 1681o.

27. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s

   fees from Experian in an amount to be determined pursuant to 15 U.S.C. § 1681n and

   § 1681o.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Experian for the following:

          A. declaratory judgment that Experian violated the FCRA;

          B. actual damages pursuant to 15 U.S.C. § 1681n(a)(1) or § 1681o(a)(1);

          C. statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1681n(a)(1);

          D. punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

          E. costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n(a)(3)
          and 1681o(a)(2);

          F. any pre-judgment and post-judgment interest as may be allowed under the
          law; and


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           G. any other relief that this Court deems appropriate.


                                    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a trial

by jury of all issues so triable.



       Respectfully submitted this 18th day of September 2020.



                                    s/ Jenna Dakroub
                                    Jenna Dakroub
                                    Bar Number: 0401650
                                    Attorney for Plaintiff Meredith Kay Reinholdt
                                    Price Law Group, APC
                                    8245 N 85th Way
                                    Scottsdale, AZ 85258
                                    Telephone: (818) 600-5513
                                    Email: jenna@pricelawgroup.com

                                    Christopher Dunn
                                    Bar Number: 0400686
                                    Attorney for Plaintiff Meredith Kay Reinholdt
                                    Hoglund, Chwialkowski & Mrozik, PLLC
                                    1781 Country Road B West
                                    Roseville, MN 55113
                                    Telephone: (651) 628-9929
                                    Email: chip.dunn@hoglundlaw.com




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